39 F.3d 1178
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff Appellee,v.Christopher J. BREHANY, Defendant Appellant.
    No. 94-5349.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 18, 1994.Decided Nov. 14, 1994.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  T. S. Ellis III, District Judge.  (CR-94-90-A)
      Christopher J. Brehany, Appellant Pro Se.  Glenn Cambron Alexander, OFFICE OF THE UNITED STATES ATTORNEY, Alexandria, Virginia, for Appellee.
      E.D.Va.
      AFFIRMED.
      Before HALL and MICHAEL, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order affirming the magistrate judge's decision* finding Appellant guilty of having a radar detection device on his vehicle while traveling on the George Washington Memorial Parkway in northern Virginia, in violation of Va.Code Ann. Sec. 46.2-1079 (Michie 1994), as assimilated by 36 C.F.R. Sec. 4.2 (1993).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United State v. Brehany, No. CR-94-90-A (E.D. Va.  May 3, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         This case was initially tried to a magistrate judge under 18 U.S.C. Sec. 3401(a) (1988)
      
    
    